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 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )       Case No.    2:09-cr-161 EJG
                                        )
12               Plaintiff,             )       STIPULATION AND ORDER
                                        )       CONTINUING STATUS CONFERENCE
13   v.                                 )
                                        )
14   TOBBIYON SIMON, and                )
     MONIQUE JASPAR,                    )
15                                      )
                 Defendants.            )
16                                      )
17
                                      Stipulation
18
            The government and defendant Monique Jaspar are in the process
19
     of negotiating a plea agreement.        Therefore, the parties, through
20
     undersigned counsel, stipulate that the status conference scheduled
21
     for March 12, 2010, may be continued to, April 30, 2010, at 10:00
22
     a.m.    That is the first date that both counsel and the defendant are
23
     all available.
24
            The parties further stipulate that time may be excluded from
25
     the speedy trial calculation under the Speedy Trial Act through the
26
     new status conference date of April 30, 2010, pursuant to 18 U.S.C.
27
     § 3161(h)(7)(B)(iv) and Local Code T4, because the interests of
28

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 1   justice served by granting this continuance outweigh the interests
 2   of the defendant and the public in a speedy trial.
 3        Defense counsel has authorized the prosecutor to sign this
 4   stipulation on his behalf.
 5   DATED:    March 11, 2010                     BENJAMIN B. WAGNER
                                                  United States Attorney
 6
 7                                       by       /s/ Samantha S. Spangler
                                                  Samantha S. Spangler
 8                                                Assistant U.S. Attorney
 9
10   DATED:    March 11, 2010            by       /s/ Samantha S. Spangler    for
                                                  Michael B. Bigelow
11                                                Counsel for Defendant
                                                  Monique Jaspar
12
13                                         Order
14        Good cause appearing, the status conference scheduled for March
15   12, 2010 is ordered continued to April 30, 2010, at 10:00 a.m.             The
16   Court finds that the interests of justice served by granting this
17   continuance outweigh the interests of the defendant and the public
18   in a speedy trial.      Therefore, time is excluded from the speedy
19   trial calculation under the Speedy Trial Act through the new status
20   conference date of April 30, 2010, pursuant to 18 U.S.C. §
21   3161(h)(7)(B)(iv) and Local Code T4.
22        IT IS SO ORDERED.
23   DATED:    March 11, 2010             /s/ Edward J. Garcia
                                              EDWARD J. GARCIA, JUDGE
24                                            UNITED STATES DISTRICT COURT
25
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